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                        UNITED STATES DISTRICT COURT

                      NORTHERN DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES

 Date: 11/15/2021              Time: 9:00 a.m. - 9:22 a.m. Judge: YVONNE
                                                           GONZALEZ ROGERS
 Case No.: 21-cv-01892-YGR     Case Name: Johansen v. County of Napa



Attorney for Plaintiff: Joseph Welch
Attorney for Defendant: Noah Blechman

 Deputy Clerk: Frances Stone                       Court Reporter: Raynee Mercado


                                     PROCEEDINGS
Initial Case Management Conference - HELD via Zoom Webinar

Case Management Conference set 10/3/2022 at 2:00pm
Updated Joint CMC Statement filed by 9/26/2022
REFERRED to ADR for Mediation to be completed by 4/28/2022
Join Parties or Amend Pleadings: by stipulation and proposed order or only with court
approval for good cause by Motions under FRCP Rule 16(b)(4).
Non-Expert Discovery Cutoff: 6/15/2022
Disclosure of Experts: All Experts, Retained and Non-Retained Must Provide Written
Reports Compliant with FRCP 26(a)(2)(B):
                        Opening: 7/15/2022
                          Rebuttal: 8/5/2022
Expert Discovery Cutoff: 9/9/2022
Dispositive/Daubert Motions heard by 11/15/2022 ; filed by 10/10/2022
Compliance Deadline set Friday 2/3/2023 at 9:01am
Joint Statement re pretrial compliance filed by 1/27/2023
Joint Pretrial Statement: 2/10/2023
Pretrial Conference Friday, 2/24/2023 at 9:00am
Jury Trial set 3/13/2023 at 8:30am; Counsel to be present at 8:00am


cc: ADR
